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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

WILMA BROWN, on behalf of
the HENNY PENNY
CORPORATION EMPLOYEE
STOCK OWNERSHIP PLAN, and
on behalf of a class of all other
persons similarly situated,

Plaintiffs, Case No. 3:17-cv-250

%. JUDGE WALTER H. RICE

WILMINGTON TRUST, N.A., as
successor to Wilmington Trust
Retirement and Institutional
Services Company,

Defendant.

 

DECISION AND ENTRY OVERRULING MOTION OF HENNY PENNY
CORPORATION TO COMPEL INDIVIDUAL ARBITRATION AND TO
STRIKE ANY CLAIMS PURPORTEDLY BROUGHT ON A CLASS OR
REPRESENTATIVE BASIS (DOC. #13); OVERRULING DEFENDANT
WILMINGTON TRUST, N.A.’S MOTION TO COMPEL ARBITRATION
(DOC. #14)

 

Plaintiff Wilma Brown, on behalf of the Henny Penny Corporation Employee
Stock Ownership Plan (the “Plan” or “ESOP”), and on behalf of a class of all other
persons similarly situated, filed suit against Wilmington Trust, N.A. (“Wilmington
Trust"), as successor to Wilmington Trust Retirement and Institutional Services
Company, which was the Plan’s trustee in 2014 when the Plan acquired shares of

the Henny Penny Corporation. Plaintiff alleges that Wilmington Trust engaged in
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prohibited transactions and paid more than fair market value for the stock, causing
losses to the Plan and its participants. Brown seeks declaratory and injunctive
relief under the Employee Retirement Income Security Act of 1974, as amended
(“ERISA”), 29 U.S.C. 88 1106, 1109, and 1132(a), as well as damages for losses
suffered by the Plan.

This matter is currently before the Court on two pending motions: (1) Motion
of Henny Penny Corporation to Compel Individual Arbitration and to Strike Any
Claims Purportedly Brought on a Class or Representative Basis (Doc. #13)'; and (2)

Wilmington Trust, N.A.’s Motion to Compel Arbitration (Doc. #14).

I. Background and Procedural History

Henny Penny Corporation (“Henny Penny”) manufactures foodservice
equipment. It was owned by the Cobb family until December 30, 2014, when the
corporation sold all of its stock to the Henny Penny Corporation Employee Stock
Ownership Plan (the “Plan” or “ESOP”) for $165,000,000. In order to facilitate
this transaction, Henny Penny, as the Sponsoring Employer, appointed Wilmington
Trust Retirement and Institutional Services Company as Trustee of the Plan. The
Trustee represented the Plan and its participants in the ESOP transaction and had

sole authority to authorize the stock purchase. The stock purchase was paid for

 

"In a contemporaneous filing, the Court has granted Henny Penny leave to
intervene as a limited-in-scope third party plaintiff.

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by a $165,000,000 loan from Henny Penny to the Plan, to be repaid over 45
years.

The Plan is a pension plan, governed by ERISA, with individual accounts
established for each participant. It is administered by the ESOP Committee, which
was appointed by Henny Penny. Effective January 1, 2017, the Plan was
amended to add a Mandatory and Binding Arbitration provision. This provision,
Section 12.21, requires arbitration of all “Covered Claims” asserted by a
“Claimant,” and requires that these claims be brought solely in the Claimant's
individual capacity. Arbitration of “group, class, or representative” claims is
prohibited. Doc. #1-1, PagelD##101-02.

Plaintiff Wilma Brown worked at Henny Penny for approximately 30 years.
On December 31, 2014, when the ESOP transaction took place, her individual
stock account was allocated 83.892 shares of Henny Penny stock. The Complaint
alleges that she “is a participant in the Plan and is vested in shares of Henny Penny
allocated to her account in the Plan.” Doc. #1, PagelD#2. Brown left Henny
Penny in May of 2015, and, in November of 2016, she cashed out of the Plan.
Doc. #18, PagelD##264-65.

On July 27, 2017, Brown filed suit against Wilmington Trust, N.A., as
successor to Wilmington Trust Retirement and Institutional Services Company, on
behalf of the Henny Penny Corporation Employee Stock Ownership Plan, and on
behalf of a class of all other persons similarly situated. She generally alleges that

Wilmington Trust paid more than the fair market value for the stock, relying on a
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faulty valuation, and paying a “control premium” for the stock even though the
Cobbs remained in control of Henny Penny following the ESOP transaction. She
maintains that Wilmington Trust is liable for the difference between the price paid
by the Plan and the actual value of the stock.

The Complaint asserts three causes of action under ERISA: (1) Causing and
Engaging in Prohibited Transactions Forbidden by ERISA, 29 U.S.C. § 1106
(prohibiting transactions between a plan and a party in interest); (2) Invalidation of
Arbitration Procedure and Full Satisfaction/Release of Claims Provisions Pursuant to
ERISA, 29 U.S.C. § 1132(a)(3); and (3) Violations of ERISA, 29 U.S.C. §§ 1110
and 1104(A)(1), stemming from Plan provisions purporting to relieve Wilmington
Trust of liability. Plaintiff seeks a variety of declaratory and injunctive relief, and
asks that the Court order that any recovery for losses to the Plan be allocated to
the individual accounts of class members. Doc. #1.

On September 28, Henny Penny filed a Motion to Intervene as a Limited-in-
Scope Third Party Plaintiff. Doc. #11. By separate Order, the Court has sustained
that motion. This matter is currently before the Court on Henny Penny’s Motion to
Compel Individual Arbitration and to Strike Any Claims Purportedly Brought on a
Class or Representative Basis, Doc. #13, and on Wilmington Trust's Motion to
Compel Arbitration, Doc. #14. Wilmington Trust has also joined in Henny Penny’s
motion. After both motions were fully briefed, the parties each submitted Notices
of Supplemental Authority, Docs. ##21, 24, 27 and 30, and response briefs, Docs.

##22, 25, 29.
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ll. Motions to Compe! Individual Arbitration and to Strike Claims Purportedly
Brought on a Class or Representative Basis (Docs. ##13 and 14)

Pursuant to 9 U.S.C. 8 4, Henny Penny and Wilmington Trust have filed
motions to compel Plaintiff to arbitrate her claims, and to do so on an individual
basis, not on behalf of the entire Plan and its participants. They note that the
Plan was amended in January of 2017, to include the following Arbitration

Procedure:

12.21 Mandatory and Binding Arbitration Procedure ("Arbitration
Procedure"). As a condition to any (i) Employee becoming eligible to
participate in the Plan, (ii) any Employee, Participant, or Beneficiary
receiving any contributions to his or her Plan account, and/or (iii) any
Employee, Participant, or Beneficiary receiving any benefit under this
Plan, such Employee, Participant, or Beneficiary shall be bound, and
hereby is bound, to follow and comply with the provisions of this
Arbitration Procedure to resolve all Covered Claims.

(a) Covered Claims. Any claim by a Claimant which arises
out of, relates to, or concerns this Plan, the Trust, or the Trust Fund,
including without limitation, any claim for benefits under the Plan,
Trust, or Trust Fund; any claim asserting a breach of, or failure to
follow, the Plan or Trust; and any claim asserting a breach of, or
failure to follow, any provision of ERISA or the Code, including
without limitation claims for breach of fiduciary duty, ERISA § 510
claims, and claims for failure to timely provide notices or information
required by ERISA or the Code (collectively, "Covered Claims"), shall
be settled by binding arbitration administered in accordance with the
National Rules for the Resolution of Employment Disputes of the
American Arbitration Association ("AAA") then in effect. ...

(b) No Group, Class, or Representative Arbitrations. All
Covered Claims must be brought solely in the Claimant's individual
capacity and not in a representative capacity or on a class, collective,

 

2 The Federal Arbitration Act provides that a party aggrieved by the alleged failure
of another to arbitrate under a written agreement may petition the district court for
an order compelling arbitration. 9 U.S.C. 8 4.
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or group basis. Each arbitration shall be limited solely to one
Claimant's Covered Claims and that Claimant may not seek or receive
any remedy which has the purpose or effect of providing additional
benefits or monetary or other relief to any employee, participant or
beneficiary other than the Claimant... .

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(k) Covered Claims Includes Claims Against Fiduciaries and/or
Non-Fiduciaries. This Arbitration Procedure shall apply to all Covered
Claims asserted by a Claimant, whether such Covered Claims (i) are
asserted against one or more of the Plan’s fiduciaries or alleged
fiduciaries, including but not limited to the Committee and/or Trustee;
and/or (li) are asserted against the Employer or any other non-fiduciary
(e.g., a Plan service provider).

Doc. #1-1, PagelD##101-04.

Plaintiff maintains that, for a variety of reasons, she is not bound by this
Arbitration Procedure: (1) she did not agree to arbitrate, given that the provision
was added to the Plan after she left Henny Penny; (2) she received no
consideration in exchange for the arbitration amendment; and (3) because she falls
outside the Plan’s definition of a “Claimant,” her claims are not “Covered Claims,”
so the Arbitration Procedure does not apply to her. Plaintiff further argues that the
Arbitration Procedure is generally unenforceable because: (1) there is no mutual
obligation to arbitrate; (2) it impairs substantive statutory rights; and (3) it violates
ERISA’s anti-cutback provision, 29 U.S.C. 8 1054(g).

The Court need not reach all of these arguments. For two reasons, the
Court finds that the Arbitration Procedure does not apply to Plaintiff's claims. She

did not agree to arbitrate and, even if she did, her specific claims fall outside the

scope of the Arbitration Procedure. Accordingly, the Court overrules the motions
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to compel arbitration and to strike any claims purportedly brought on a class or
representative basis.

A. Relevant Law

The Federal Arbitration Act (“FAA”) states that a written provision to
arbitrate a controversy “shall be valid, irrevocable, and enforceable, save upon
such grounds as exist at law or in equity for the revocation of any contract.” 9
U.S.C. § 2.° Plaintiff, as the party resisting arbitration, bears the burden of proving
that the claims at issue are not subject to arbitration. Green Tree Fin. Corp. v.
Randolph, 531 U.S. 79, 91 (2000).

The FAA reflects a “liberal federal policy favoring arbitration agreements.”
Moses H. Cone Mem. Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983).
The Sixth Circuit has specifically upheld mandatory arbitration provisions in plans
governed by ERISA. Smith v. Aegon Cos. Pension Plan, 769 F.3d 922, 932 (6th
Cir. 2014). Moreover, class waivers in arbitration agreements are enforceable
even if the statute at issue expressly permits collective actions. Am. Express Co.
v. Italian Colors Rest., 133 S. Ct. 2304, 2311 (2013). See also Epic Systems
Corp. v. Lewis, 138 S. Ct. 1612, 1624 (2018) (holding that the right to “engage in
other concerted activities” under the NLRA does not manifest congressional intent

to displace the FAA).

 

$ “[Gl]enerally applicable state-law contract defenses like fraud, forgery, duress,
mistake, lack of consideration or mutual obligation, or unconscionability, may
invalidate arbitration agreements.” Cooper v. MRM Inv. Co., 367 F.3d 493, 498
(6th Cir. 2004).
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Nevertheless, as the Sixth Circuit noted in Simon v. Pfizer, Inc., 398 F.3d
765 (6th Cir. 2005), “no matter how strong the federal policy favors arbitration,
‘arbitration is a matter of contract between the parties, and one cannot be required
to submit to arbitration a dispute which it has not agreed to submit to arbitration.’”
Id. at 775 (quoting United Steelworkers, Local No. 1617 v. Gen. Fireproofing Co.,
464 F.2d 726, 729 (6th Cir. 1972)). See also AT&T Techs., Inc. v. Comme'ns
Workers of Am., 475 U.S. 643, 648 (1986) (holding same).

When considering a motion to stay proceedings and compel arbitration

under the [FAA], a court has four tasks: first, it must determine

whether the parties agreed to arbitrate; second, it must determine the

scope of that agreement; third, if federal statutory claims are

asserted, it must consider whether Congress intended those claims to

be nonarbitrable; and fourth, if the court concludes that some, but not

all, of the claims in the action are subject to arbitration, it must

determine whether to stay the remainder of the proceedings pending

arbitration.

Stout v. J.D. Byrider, 228 F.3d 709, 714 (6th Cir. 2000).

Here, because the Court finds that Plaintiff did not agree to arbitrate and,
even if she did, her claims are outside the scope of the Arbitration Procedure, the
Court need not address the remaining tasks.

B. Plaintiff Did Not Agree to Arbitrate

Plaintiff first argues that she is not bound by the Plan’s Arbitration Procedure
because she never agreed to it. She left Henny Penny in May of 2015, and
completely cashed out of the Plan in November of 2016. Doc. #18, PagelD##264-

65. The Arbitration Procedure was not added to the Plan until January of 2017.

Plaintiff filed suit in July of 2017.
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Henny Penny and Wilmington Trust argue that, because the breach-of-
fiduciary-duty claims belong to the Plan* and the Plan has consented to arbitration,
it does not matter that Plaintiff did not personally agree to arbitrate the claims.
They further argue that Plaintiff is subject to the Arbitration Procedure under a
theory of equitable estoppel.

In support of the first argument, Henny Penny and Wilmington Trust rely on
Smith v. Aegon Companies Pension Plan, 769 F.3d 922 (6th Cir. 2014). When
Smith retired in 2000, he was given a lump sum benefit; thereafter, he also
received monthly pension payments. In 2007, a venue provision was added to the
pension plan, requiring all lawsuits related to the plan to be filed in federal court in
lowa. In 2011, the plan informed Smith that it had been overpaying him for the
past eleven years and would be eliminating his monthly payments until it had
recouped the money. Smith filed suit in federal court in Kentucky, alleging
violations of ERISA. The district court dismissed the suit without prejudice, citing
the plan’s venue selection clause.

Smith appealed, but the Sixth Circuit affirmed. It noted that pension plan
administrators “are generally free under ERISA, for any reason at any time, to

adopt, modify, or terminate welfare plans.” /d. at 930. Smith argued that the

 

* In LaRue v. Dewolff, Boberg & Associates, Inc., 552 U.S. 248, 256 (2008), the
Supreme Court held that “although 8 502(a)(2) does not provide a remedy for
individual injuries distinct from plan injuries, that provision does authorize recovery
for fiduciary breaches that impair the value of plan assets in a participant's
individual account.”
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venue provision was invalid because it was not the product of an arms-length
transaction. The court rejected this argument. /d. It further held that, even
though the venue selection provision was added eight years after Smith retired, his
claims did not accrue until 2011, when the plan informed him of the overpayment.
The court reasoned that, because the venue selection clause was added after his
claims accrued, he was bound by it. /d. at 931. Citing Smith, Henny Penny and
Wilmington Trust argue that, because the Arbitration Procedure was in effect when
Brown filed suit, she is bound by it.

Plaintiff argues that Smith is factually distinguishable in two important
respects. First, the venue selection clause was added while Smith was still an
active participant in the pension plan. In contrast, by the time the Arbitration
Procedure was added to the Plan, Plaintiff had completely cashed out her account
and had ceased all participation in the Plan. In addition, while Smith’s cause of
action accrued after the venue selection clause was added to the pension plan,
Plaintiff's cause of action accrued in 2014, when the ESOP transaction took place,
more than two years before the Arbitration Procedure was added to the Plan.

Plaintiff argues that this case is more analogous to Dorman v. Charles
Schwab & Co., Inc., No. 17-cv-285, 2018 WL 467357 (N.D. Cal. Jan. 18, 2018).
In Dorman, the plaintiff left the company, cashed out his account balance in the
retirement savings plan, and ceased all participation in the pension plan. He later
filed suit under ERISA to recover losses to the pension plan that stemmed from

allegedly prohibited transactions and breaches of fiduciary duty.

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In denying the defendant’s motion to compel arbitration, the court held that
the plan document containing the arbitration provision “does not bind Dorman
because it was executed after he ceased all participation in the Plan.” /d. at *5.
The court further held that because the plan document was executed unilaterally
by the plan sponsor—the same fiduciary whose actions were being challenged in
the lawsuit—plaintiff should not be prevented from pursuing his claims in court.
Allowing the fiduciary to unilaterally require plan participants to arbitrate claims for
breach of fiduciary duty “would, in a sense, be allowing the fox to guard the
henhouse.” /d. (quoting Munro v. Univ. of S. California, 2017 WL 1654075, at *6
(C.D. Cal. Mar. 23, 2017)).°

Based on the factual distinctions noted by Plaintiff, the Court finds that
Smith is not controlling authority. Neither is Dorman controlling authority, but it is
somewhat persuasive.° Although plan administrators and employers have broad
discretion to modify the terms of a plan, those modifications do not necessarily
bind individuals like Plaintiff, who have ceased all participation in the plan and

whose cause of action accrued prior to the modification. Under the circumstances

 

° Plaintiff notes that the Arbitration Procedure was added to the Plan only after
Wilmington Trust lost at trial in a similar case involving ERISA violations in another
ESOP transaction. See Brundle v. Wilmington Trust, N.A., No. 1:15-cv-1494,
2017 WL 979106 (E.D. Va. Mar. 13, 2017).

° The other supplemental authorities filed by Plaintiff, Cu/linane v. Uber
Technologies, Inc., No. 16-2023, 2018 WL 3099388 (1st Cir. June 25, 2018),
and AT&T Mobility Servs. LLC v. Jean-Baptiste, No. 17-11962, 2018 WL
3425734 (D.N.J. July 16, 2018), are so factually dissimilar that they are of little
use.

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presented here, the Court concludes that Plaintiff is not bound by the Arbitration
Procedure.

Henny Penny and Wilmington Trust also argue that, because Plaintiff seeks
additional payments from the Plan, she is subject to the Arbitration Procedure
under an equitable estoppel theory. The doctrine of equitable estoppel “precludes
a party from claiming the benefits of a contract while simultaneously attempting to
avoid the burdens that contract imposes as well.” Washington Mut. Fin. Grp., LLC
v. Bailey, 364 F.3d 260, 267 (5th Cir. 2004). See also Javitch v. First Union
Sec., Inc., 315 F.3d 619, 629 (6th Cir. 2003) (“a nonsignatory may be bound to
an arbitration agreement under an estoppel theory when the nonsignatory seeks a
direct benefit from the contract while disavowing the arbitration provision"); /nt’/
Paper Co. v. Schwabedissen Maschinen & Anlagen GMBH, 206 F.3d 411, 418
(4th Cir. 2000) (the doctrine of equitable estoppel “recognizes that a party may be
estopped from asserting that the lack of his signature on a written contract
precludes enforcement of the contract's arbitration clause when he has
consistently maintained that other provisions of the same contract should be
enforced to benefit him.”).

Here, however, Plaintiff is not seeking to enforce any of the terms of the
Plan or alleging a breach of any of its provisions. She is not seeking any direct
benefit from the Plan itself, and her claims do not arise from the Plan document.

Instead, her claims are wholly statutory in nature, brought under ERISA to remedy

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alleged breaches of fiduciary duty by the Trustee, which resulted in losses to the
Plan.

In similar circumstances, courts have refused to apply the doctrine of
equitable estoppel to bind a non-signatory to an arbitration agreement. For
example, in Tennessee Tractor, LLC v. WH Administrators, Inc., No. 1:17-cv-2829,
2018 WL 1277751 (W.D. Tenn. Mar. 12, 2018), the district court recently refused
to bind the non-signatory plaintiff to an arbitration agreement that was contained in
a health agreement between his employer and a third-party provider. The court
noted that the plaintiff was not seeking to enforce the third-party provider's
contractual obligations to the employer, but was instead seeking to enforce the
third-party provider's statutory obligations under ERISA. /d. at *3. See also
Comer v. Micor, Inc., 436 F.3d 1098, 1102 (9th Cir. 2006) (equitable estoppel did
not apply where plaintiff, who was simply a plan participant, did not seek to
enforce the terms of a management agreement or benefit from that agreement, but
rather brought breach-of-fiduciary-duty claims under ERISA). As in these cases,
the Court finds that the doctrine of equitable estoppel does not apply to bind
Plaintiff to the Arbitration Procedure.

. Plaintiff’s Claims Fall Outside the Scope of the Arbitration Procedure

Even assuming arguendo that Plaintiff is deemed, under one of the theories
discussed above, to have agreed to arbitrate her claims, the claims that she has
asserted fall outside the scope of the Arbitration Procedure. As previously

discussed, the enforceability of an arbitration agreement is a matter of contract

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law. “When an arbitration clause by its terms extends only to a specific type of
dispute, then a court cannot require arbitration on claims that are not included.”
Simon, 398 F.3d at 775.

As noted above, the Arbitration Procedure at issue reads as follows:

12.21 Mandatory and Binding Arbitration Procedure ("Arbitration
Procedure"). As a condition to any (i) Employee becoming eligible to
participate in the Plan, (ii) any Employee, Participant, or Beneficiary
receiving any contributions to his or her Plan account, and/or (iii) any
Employee, Participant, or Beneficiary receiving any benefit under this
Plan, such Employee, Participant, or Beneficiary shall be bound, and
hereby is bound, to follow and comply with the provisions of this
Arbitration Procedure to resolve all Covered Claims.

(a) Covered Claims. Any claim by a Claimant which arises
out of, relates to, or concerns this Plan, the Trust, or the Trust Fund,
including without limitation, any claim for benefits under the Plan,
Trust, or Trust Fund; any claim asserting a breach of, or failure to
follow, the Plan or Trust; and any claim asserting a breach of, or
failure to follow, any provision of ERISA or the Code, including
without limitation claims for breach of fiduciary duty, ERISA § 510
claims, and claims for failure to timely provide notices or information
required by ERISA or the Code (collectively, "Covered Claims"), shall
be settled by binding arbitration administered in accordance with the
National Rules for the Resolution of Employment Disputes of the
American Arbitration Association ("AAA") then in effect... .

(b) No Group, Class, or Representative Arbitrations. All
Covered Claims must be brought solely in the Claimant's individual
capacity and not in a representative capacity or on a class, collective,
or group basis. Each arbitration shall be limited solely to one
Claimant's Covered Claims and that Claimant may not seek or receive
any remedy which has the purpose or effect of providing additional
benefits or monetary or other relief to any employee, participant or
beneficiary other than the Claimant... .

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(k) Covered Claims Includes Claims Against Fiduciaries and/or
Non-Fiduciaries. This Arbitration Procedure shall apply to all Covered

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Claims asserted by a Claimant, whether such Covered Claims (i) are

asserted against one or more of the Plan’s fiduciaries or alleged

fiduciaries, including but not limited to the Committee and/or Trustee;

and/or (ii) are asserted against the Employer or any other non-fiduciary

(e.g., a Plan service provider).

Doc. #1-1, PagelD##101-04 (emphasis added).

This Arbitration Procedure encompasses a wide variety of claims, including
claims of breach of fiduciary duty asserted against a Trustee. Nevertheless, by its
terms, the Arbitration Provision applies only to “Covered Claims,” and “Covered
Claims” include only claims asserted “by a Claimant.” Because Plaintiff falls
outside the Plan's definition of a “Claimant,” her claims are not “Covered Claims.”
Accordingly, they are not subject to the Arbitration Procedure.

A “Claimant” is defined by the Plan as “an Employee, Participant, or
Beneficiary.” Doc. #1-1, PagelD#39. It is undisputed that Plaintiff is no longer an
Employee, and she is not a Beneficiary. Accordingly, she is a “Claimant” only if
she is a “Participant.”

The Plan defines a “Participant” as “anyone who has met the eligibility and
participation requirements under Article 2.” /d. at PagelD#45. It is undisputed
that Plaintiff satisfies this requirement. Nevertheless, the definition of a
“Participant” also states that “an individual who is no longer an Employee will
cease to be a Participant if his or her entire Plan benefit: . . . (b) is paid in a lump
sum distribution which represents such individual's entire interest in the Plan.” /d.

The “Plan” is defined as “the Henny Penny Corporation Employee Stock Ownership

Plan.” /d. at PagelD#46.

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Given that Plaintiff has terminated her employment, cashed out the entire
balance in her ESOP account, and ceased all participation in the Plan, she no longer
qualifies as a “Participant.” Accordingly, she cannot be a “Claimant,” as that term
is defined by the Plan. Therefore, her claims are not subject to the Arbitration
Procedure.

Henny Penny and Wilmington Trust argue that a finding that Plaintiff was
“paid in a lump sum distribution which represents such individual's entire interest
in the Plan” is completely inconsistent with her claim that she is entitled to recover
additional benefits from losses that resulted from Wilmington Trust’s alleged
wrongdoing.

The Court disagrees. “The general principles of contract law dictate that we
interpret the Plan's provisions according to their plain meaning, in an ordinary and
popular sense.” Perez v. Aetna Life Ins. Co., 150 F.3d 550, 556 (6th Cir. 1998).
The Plan expressly states that a former employee “will cease to be a Participant if
his or her entire Plan benefit: . . . (b) is paid in a lump sum distribution which
represents such individual’s entire interest in the Plan.” Doc. #1-1, PagelD#45.

Here, Plaintiff was allocated a certain number of shares in the ESOP. She
terminated her employment and, in November of 2016, she cashed out her entire
ESOP account. Doc. #18, PagelD#265. Her entire Plan benefit was paid in one
lump sum, representing her entire interest in the ESOP on that date. Giving the
Plan language its plain and ordinary meaning, she then ceased to be a “Participant”

in the Plan.

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Plaintiff alleges that Wilmington Trust paid more than the fair market value
when it purchased the shares of stock from the Cobb family, thereby causing injury
to the Plan. If Plaintiff succeeds on her claims of breach of fiduciary duty, and
recovers some or all of the alleged losses on behalf of the Plan, she and others will
receive a proportionate share of any recovery. However, it does not change the
fact that Plaintiff ceased to be a “Participant” when she received her lump sum
payment.

Henny Penny and Wilmington Trust note that the Complaint alleges that
“Plaintiff is a participant in the Plan and is vested in shares of Henny Penny
allocated to her account in the Plan.” Doc. #1, PagelD#2. They maintain that
Plaintiff cannot have it both ways; because she admits that she is “a participant in
the Plan,” she must be deemed a “Participant” for purposes of the Arbitration
Provision.

Not so. A former employee may be deemed a “participant” for purposes of
standing to bring an ERISA claim, and yet fall outside the Plan’s definition of a
“Participant” who is bound by the Arbitration Provision.

ERISA broadly defines a “participant” as “any employee or former employee
of an employer . . . who is or may become eligible to receive a benefit of any type
from an employee benefit plan which covers employees of such employer... , or

whose beneficiaries may be eligible to receive any such benefit.” 29 U.S.C.

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§ 1002(7). The Supreme Court has interpreted this to include former employees
who have “a colorable claim to vested benefits.” Firestone Tire & Rubber Co. v.
Bruch, 489 U.S. 101, 117 (1989) (internal quotation omitted).

The Sixth Circuit has held that a former employee alleging a breach of
fiduciary duty “has ‘participant’ standing despite having ‘cashed out’ his defined-
contribution plan.” Bridges v. Am. Elec. Power Co., 498 F.3d 442, 445 (6th Cir.
2007). Nevertheless, the fact that Plaintiff has statutory standing, as a
“participant,” to assert claims on behalf of the Plan does not necessarily mean that
she qualifies as a “Participant” who is contractually bound by the Plan’s Arbitration
Procedure. Because Plaintiff was paid a lump sum distribution, representing the
entire interest in her ESOP account, she is no longer a “Participant” in the Plan, as
the Plan has defined that term. In turn, she does not fall within the Plan’s
definition of a “Claimant” and her claims are not “Covered Claims.”

Accordingly, the Arbitration Procedure does not apply. Plaintiff need not
submit her claims to binding arbitration. Nor is she prohibited from pursuing claims
on behalf of a class of others who may have been deprived of benefits as the

result of Wilmington Trust's alleged violations of ERISA.’

 

7 Henny Penny and Wilmington Trust argue that, if the Court finds that Plaintiff is
not subject to the Arbitration Procedure, then she does not have standing to
challenge it. They therefore argue that Count II of the Complaint, which seeks to
invalidate the Arbitration Procedure, should be dismissed. Although the Court is
inclined to agree, this argument lies beyond the scope of this Decision and Entry.
It may be raised by the parties in a subsequent motion.

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ll. © Conclusion

For the reasons set forth above, the Court OVERRULES the Motion of Henny
Penny Corporation to Compel Individual Arbitration and to Strike Any Claims
Purportedly Brought on a Class or Representative Basis, Doc. #13, and Wilmington
Trust, N.A.’s Motion to Compel Arbitration, Doc. #14.

The previously-imposed stay, see Doc. #9, is lifted. The Court will schedule
a Preliminary Pretrial Conference after Wilmington Trust files its Answer or other

responsive pleading.

Date: July 23, 2018 A PGs:

WALTER H. RICE
UNITED STATES DISTRICT JUDGE

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